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             UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF FLORIDA
                    PENSACOLA DIVISION

IN RE:
SEIBERT, JOHN STEWART                 CASE NO. 18-30975-KKS
SEIBERT, ALICE LEIGH                  CHAPTER 7
         Debtor(s).
                                      /

     ORDER GRANTING MOTION TO SELL REAL PROPERTY
      SUBJECT TO ANY AND ALL LIENS, ENCUMBRANCES
                 AND INTERESTS (Doc. 55)

THIS CAUSE having come before the Court upon Trustee’s Notice of

Intent to Sell Property of the Estate (Doc. 54), with negative notice,

and Motion to Sell Real Property Subject to Any and All Liens,

Encumbrances and Interests (Doc. 55), with negative notice, and there

being no objection filed with the Court and no hearing being required,

and the Court being otherwise fully advised in the premises.

 It is hereby ORDERED as follows:

  1. The relief requested in the motion is GRANTED.

  2. The Trustee is authorized to sell the property identified as Lee

     County parcel ID No. 43 24 01 12 0 004 235.000 to John

     Steward Seibert and Alice Leigh Seibert for $3,000.00 under the

     price and terms set forth in the Notice of Intent to Real Property.
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   3. The sale of the Property shall be “As Is, Where Is” pursuant to 11

       U.S.C. § 363(b), with no warranties of any kind, subject to any

       and all liens of record, as well as any and all easements,

       restrictions and reservations of record, and back taxes, if any,

       and current and subsequent taxes.

   4. The Trustee shall deposit the settlement proceeds from the sale

       of the property into the bankruptcy estate’s trust account, to be

       held there until this Court approves disbursement of these funds.

   5. The Trustee is authorized to execute any and all documents,

       including a deed to effectuate the sale.


                           September 19, 2019
       DONE AND ORDERED on __________________.



                                            ____________________________
                                            KAREN K. SPECIE
                                            Chief U.S. Bankruptcy Judge
Order Prepared by:
Mary W. Colón, Esq.
Trustee Mary W. Colón is directed to serve a copy of this order on interested parties and
file a proof of service within three (3) days of entry of the order.
